       Case1:12-cv-01511-CM
       Case 1:12-cv-01511-CM Document
                             Document140
                                      141 Filed
                                           Filed09/17/20
                                                 10/19/20 Page
                                                           Page11ofof22




UNITED STATES DISTRICT COURT FOR THE                 USDCSDNY
SOUTHERN DISTRICT OF NEW YORK
                                                     DOCUMENT
---- - ------- - ---------------------- - ---- x
SETH D. HARRIS , Acting Secreta r y of               ELECTRONICALLY FILED
Labor , United States Depa r tment of                DOC #: _ _ _---1~- - t - -
Labor ,                                              DATE FILEJ?:   JoJ/~/;µ,;y,
                        Plaint i ff ,                  Ci vi l ' Act i on No .
                                                       12 - CV- 1511 (CM) (GWG)
            v.

JOHN V. MCNAMEE , JR. , KEVIN DUNPHY ,
MANUEL FARINA , JOHN T. HALL, JOHN
HAMILTON , MICHELE SULLIVAN , JOHN
WALSH , EXHIBITION EMPLOYEES LOCAL                     ORDER
829 I. A . T . S. E. PENSION PLAN , EXHIBITION
EMPLOYEES LOCAL 829 I . A . T . S . E . ANNUITY
FUND , and EXHIBITION EMPLOYEES LOCAL
829 I . A . T . S.E . VACATI ON FUND ,

                        Defendants .

------ - -------- - ---- - -------- - ---------- x
      THIS MATTER having come before the Court on the

September 17 , 2020 application o f Judith P. Broach ,          Independent

Fiduciary of the Exhibition Employees Local 829 I . A . T . S . E .

Pens i on Pla n ( " the Pension Fund " ) and the Exhibition Employees

Local 829 I . A.T . S.E . Annuity Fund ("the Annuity

Fund " ) (collect i vely , " the Funds " ) , for fees f or services

performed by the Independent Fiduciary and the law firm of

Stulberg & Walsh , LLP on beha l f of the Funds from June 1 through

August 31 , 2020 , and expenses i ncurred d u r i ng sa i d per i od , and

no opposition having been f i led to the appl i c at ion by any par t y

to the above - captioned act i on , and the Court h a ving reviewed the

application papers ; it i s hereby
       Case1:12-cv-01511-CM
      Case  1:12-cv-01511-CM Document
                              Document140
                                       141 Filed
                                            Filed09/17/20
                                                  10/19/20 Page
                                                            Page22ofof22




     ORDERED, that the Independent Fiduc i ary and the law firm

Stulberg & Walsh , LLP shall be compensated f or work performed

and expenses incurred in this matter dur i ng the months of J u ne

through August 2020 as follows :

     By the Pens i on Fund :

          $3 , 397.24 to St ul berg & Walsh , LLP

          $5 , 442 . 75 to the Independent Fidu c i ary

     By the Annu i ty Fund :

          $3 , 39 7 .24 to Stulberg & Walsh , LLP

          $5 , 973 . 75 to the Independent Fiduc i ary




                                         Colleen McMahon
                                         United State s Di st r ict J u dge
